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                                                                            DISTRICT COURT – N.D. OF N.Y.

                                                                                                  FILED

                           ‭UNITED STATES DISTRICT COURT FOR THE‬                              Jan 08 - 2024
                              ‭NORTHERN DISTRICT OF NEW YORK ‬
                                    ‭PLATTSBURGH DIVISION‬                                     John M. Domurad, Clerk




‭ COTT PHILLIP LEWIS,
S                                                    ‭
                                                     §
‭Plaintiff‬‭,‬                                       §
                                                     ‭§
‭v.                                                   §     ‭Jury Trial Demanded‬
                                                      ‭§      8:24-cv-29 (TJM/DJS)
‭ itizens United, Inc.‬
C                                                      §
‭Defendant.‬‭‬                                         ‭§
                                                        §


                            ‭PLAINTIFF’S ORIGINAL COMPLAINT‬

         ‭NOW COMES PLAINTIFF, Scott Phillip Lewis, and files Plaintiff’s Original Complaint.‬

‭Plaintiff files this Americans with Disabilities Act and Rehabilitation Act lawsuit for cause of‬

‭action will show the following:‬

                                             ‭I. PARTIES

‭1. ‭Plaintiff is Scott Phillip Lewis (“Plaintiff”), an individual and citizen of the United States of

      ‭America.

‭2. ‭Defendant is Citizen Advocates, Inc. (“Defendant”) is a not-for-profit 501(c)(3) organization

      ‭located in Essex County, New York and can be served through its Director, Joe Riccio, at 324

      ‭Creighton Road, Malone, NY. Service is requested contemporaneously with the filing of the

      ‭complaint.

                                 ‭II. VENUE AND JURISDICTION

‭3. ‭The court has jurisdiction over this lawsuit according to 28 U.S.C‬‭§‬‭1331. The court has

      ‭personal jurisdiction because the American with Disabilities Act of 1990 and Rehabilitation

      ‭Act of 1973 are laws of the United States.

‭4. ‭Venue is proper in the Plattsburgh Division of the United States District Court for the




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    ‭Northern District of New York, under 28 U.S.C‬‭§‬‭1391(b). Citizen Advocates, Inc. is‬

    ‭situated in this district and a substantial part of the events or omissions giving rise to claims‬

    ‭in this lawsuit occurred within this judicial district.‬

                                  ‭III. FACTUAL ALLEGATIONS‬

                                ‭A.‬ ‭Plaintiff’s Relevant Medical History‬

‭5.‬ ‭Plaintiff’s relationship with chronic pain begins in 2012. At this time, Plaintiff had their left‬

    ‭wrist severely broken, requiring a fixation with screws and plates used to piece the arm back‬

    ‭together. Surgery was performed at Upstate Orthopedics in East Syracuse, New York. After‬

    ‭surgery, Plaintiff was prescribed Oxycontin, a pain killer known for its high risk for addiction‬

    ‭and dependence. Oxycontin was originally advertised as not being addictive by distributors‬

    ‭such as Purdue Pharmaceuticals located in Stamford, Connecticut.‬

‭6.‬ ‭The Johns Hopkins Medicine website explains “[w]hen pain becomes such a problem that it‬

    ‭interferes with your life's work and normal activities, you may become the victim of a‬

    ‭vicious circle. Pain may cause you to become preoccupied with the pain, depressed, and‬

    ‭irritable. Depression and irritability often leads to insomnia and weariness, leading to more‬

    ‭irritability, depression, and pain.”‬

    ‭https://www.hopkinsmedicine.org/health/conditions-and-diseases/chron‬

    ‭ic-pain#:~:text=Pain%20may%20cause%20you%20to,suffering%2C%20sleeplessness%2C‬

    ‭%20a nd%20sadness).‬

‭7.‬ ‭By 2013, Plaintiff had noticed changes in life’s work and normal activities because of the‬

    ‭constant chronic pain in the left wrist. By May 2014, Plaintiff made the choice to remain‬

    ‭abstinent from alcoholic beverages as the chronic pain mixed with alcohol had become an‬

    ‭unpleasant experience with irritable behavior becoming more frequent. Shortly after making‬




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   ‭this choice, Plaintiff was hired as a Derivatives Trading Specialist at optionsXpress by‬

   ‭Charles Schwab and JV Lacrosse Coach at Vandegrift High School in Austin, TX. Plaintiff‬

   ‭moved from Syracuse, New York.‬

‭8.‬ ‭In November 2015, Plaintiff was involved in a hit and run accident on Rainey Street in‬

   ‭Austin, Texas leaving Plaintiff with a concussion and traumatic brain injury (TBI). The‬

   ‭police who were involved never followed up with Plaintiff, seemingly attempting to cover up‬

   ‭what happened. Plaintiff is still working on obtaining a full police report and information‬

   ‭from the officers involved at the November 2015 accident and cover up.‬

‭9.‬ ‭After the 2015 hit and run incident, Plaintiff experienced a progressive increase in‬

   ‭attention-deficit/hyperactivity disorder (“ADHD”) symptoms associated with the‬

   ‭post-traumatic stress disorder (“PTSD”) from the accident and lack of police professionalism,‬

   ‭follow up and transparency.‬

‭10.‬‭After the progression of symptoms of PTSD and ADHD from the 2015 hit and run accident,‬

   ‭Plaintiff had developed an alcohol abuse disorder over time. While some could see the‬

   ‭alcohol abuse, the root cause of the symptom went undiagnosed for a very long time. Even‬

   ‭though Plaintiff understood the symptoms he was experiencing, Plaintiff was bombarded‬

   ‭with conflicting opinions by individuals who did not care about the full truth, but instead‬

   ‭focused on selective facts that best fit a desired narrative and bias.‬

‭11.‬‭Again symptoms of PTSD and ADHD were further exacerbated on or around July 2018‬

   ‭when a former roommate and also a coach at Vandegrift Lacrosse Club told Plaintiff he had‬

   ‭paid money to have a man killed over a disagreement in a lacrosse game. Stunned by such‬

   ‭evil, Plaintiff experienced an even further increase in ADHD and PTSD symptoms and‬

   ‭separately, an increase in alcohol abuse, which is a symptom of PTSD and ADHD.‬




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‭12.‬‭Plaintiff made the choice to go to “A Forever Recovery,” a rehabilitation facility in Battle‬

   ‭Creek, Michigan. Plaintiff knew this was not a good fit, almost immediately, as the facility‬

   ‭wanted to focus solely on the alcohol abuse and not the reasons that caused such a symptom.‬

   ‭Plaintiff felt as if they were at a cult and made the decision to leave after approximately‬

   ‭twelve (12) days. This experience affected Plaintiff’s overall well-being. “A Forever‬

   ‭Recovery” is now believed to be permanently closed.‬

‭13.‬‭As previously mentioned on January 25, 2019, Plaintiff was arrested for driving while‬

   ‭intoxicated in Williamson County, TX and had his left shoulder broken within the‬

   ‭Williamson County Jail.‬

‭14.‬‭The criminal charges associated with Plaintiff’s driving while intoxicated arrest were‬

   ‭dismissed for insufficient evidence on or around April 25, 2022. The civil lawsuit initiated‬

   ‭by Plaintiff against Williamson County, Texas is an active case in the United States District‬

   ‭Court for the Western District of Texas. The active litigation’s case number in the Western‬

   ‭District of Texas is 1:21-cv-00074.‬

                  ‭B. Plaintiff’s Medical History with Citizens Advocates, Inc.‬

‭15.‬‭According to their website, “Citizen Advocates provides developmental disability, mental‬

   ‭health and substance abuse prevention, treatment and recovery services throughout Franklin,‬

   ‭Clinton, Essex, Hamilton and St. Lawrence counties” (https://citizenadvocates.net/about-us/).‬

‭16.‬‭On or around October 22, 2021, while receiving counseling through Better Help, an online‬

   ‭therapy platform, Plaintiff seeked an official diagnosis of symptoms of post traumatic stress‬

   ‭disorder (“PTSD”) and attention deficit/hyperactivity disorder (“ADHD”) that had continued‬

   ‭to progressively intensify and learn of options and resources available.‬

‭17.‬‭Plaintiff received an initial evaluation for intake online on or around October 22, 2021,‬




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   ‭performed by Joanna Politi, LMHC. The initial evaluation form is not signed (Exhibit A).‬

‭18.‬‭Even though a licensed medical health counselor is not licensed to make diagnosis’, Plaintiff‬

   ‭was nonetheless diagnosed by Joanna Politi for attention-deficit/hyperactivity disorder, and‬

   ‭nothing else (Exhibit B). Plaintiff’s post-traumatic stress disorder symptoms remained.‬

‭19.‬‭Plaintiff was unaware that his mother was given ROI status on October 22, 2021 (Exhibit C).‬

   ‭Joanna Politi states “verbal ROI” was given. Plaintiff did not intend to give unrestricted‬

   ‭access of his medical charts to his mother, Debbie Lewis, maiden name Stepien.‬

‭20.‬‭On or around October 26, 2021, Plaintiff had a second telehealth appointment with Joanna‬

   ‭Politi. The notes include a diagnosis of alcohol use disorder and/or alcohol dependency‬

   ‭(Exhibit D). This evaluation is also not signed.‬

‭21.‬‭Plaintiff was abstinent from alcohol for four (4) months, last having an alcoholic beverage on‬

   ‭or around June 12, 2021.‬

‭22.‬‭In other words, Plaintiff was diagnosed by someone not licensed to make diagnosis’ for‬

   ‭alcohol use disorder and alcohol dependence even though they had not had alcohol in four‬

   ‭(4) months.‬

‭23.‬‭Post-traumatic stress disorder or PTSD was completely ignored.‬

‭24.‬‭Plaintiff was unaware of the alcohol use disorder diagnosis at the time.‬

‭25.‬‭On or around January 10, 2022, Plaintiff had an initial psychiatric evaluation with John‬

   ‭Gomez, NP. His evaluation is unsigned (Exhibit E).‬

‭26.‬‭The evaluation form from January 10, 2022 shows a diagnosis and case formulation of‬

   ‭ADHD and alcohol use disorder, even though Plaintiff had not had an alcoholic beverage in‬

   ‭six (6) months now. Again, the symptoms of PTSD were ignored completely (Exhibit F).‬

‭27.‬‭The evaluation curiously includes a note requiring nursing supervision, stating “Patient‬




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   ‭requires nursing supervision to include; injections, Medication checks, and overall‬

   ‭monitoring of symptoms related to their primary diagnosis. Frequency determined by‬

   ‭nursing staff” (Exhibit G) This is utterly erroneous.‬

‭28.‬‭The bizarre sequence of ignoring Plaintiff’s PTSD symptoms and creating a diagnosis of‬

   ‭alcohol use disorder, when Plaintiff wasn’t using alcohol, culminated with a prescription of‬

   ‭adderall for ADHD and aripiprazole, which was sold to Plaintiff as an anti-anxiety‬

   ‭medication (Exhibit H).‬

‭29.‬‭Upon receiving the prescription, Plaintiff learned aripiprazole was a medicine used for autism‬

   ‭and/or schizophrenia, and Plaintiff was misled about the use of aripiprazole by John Gomez.‬

   ‭Plaintiff never took this medicine and confronted nurse practitioner in psychiatry John‬

   ‭Gomez upon learning of the purpose of aripiprazole.‬

‭30.‬‭The practice of using misrepresentations to trick patients into taking prescriptions is designed‬

   ‭to benefit only those prescribing the drugs. The practice of ignoring the root causes of‬

   ‭mental health symptoms and creating false diagnosis’ in order to justify prescribing pills‬

   ‭creates questions surrounding the motivation behind such behavior.‬

‭31.‬‭Plaintiff was prescribed pills for autism and/or schizophrenia but was told it was an‬

   ‭anti-anxiety medicine. Plaintiff was diagnosed with alcohol dependence even though he was‬

   ‭abstinent from alcohol for four (4) months. The symptoms of post-traumatic stress disorder‬

   ‭remained ignored.‬

‭32.‬‭Plaintiff’s trust was broken with the organization. Plaintiff seeked alternative treatment‬

   ‭providers.‬

‭33.‬‭Plaintiff was diagnosed with PTSD on or around May 3, 2023 (Exhibit I).‬




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                                            ‭IV. CLAIMS‬

           ‭Claim I - Violation of Title III, Americans with Disabilities Act of 1990‬

‭34.‬‭Plaintiff hereby incorporates all preceding paragraphs as if fully stated herein and alleges as‬

   ‭follows.‬

‭35.‬‭"To state a claim under Title III [of the Americans with Disabilities Act ("ADA" or "the‬

   ‭Act")], [a plaintiff] must allege (1) that he is disabled within the meaning of the ADA; (2)‬

   ‭that defendants own, lease, or operate a place of public accommodation; and (3) that‬

   ‭defendants discriminated against her by denying her a full and equal opportunity to enjoy the‬

   ‭services defendants provide."‬‭Camarillo v. Carrols Corp‬‭., 518 F.3d 153, 156 (2d Cir. 2008).‬

‭36.‬‭Title III of the Americans with Disabilities Act of 1990 (“ADA”) prohibits discrimination on‬

   ‭the basis of disability in the activities of places of public accommodations and is codified‬

   ‭through 42 U.S.C § 12182(a) which states in full:‬

                       “‭ No individual shall be discriminated against on the basis‬
                        ‭of‬‭disability‬‭in the full and equal enjoyment of the goods,‬
                         ‭services, facilities, privileges, advantages, or‬
                          ‭accommodations of any place of public accommodation by‬
                           ‭any person who owns, leases (or leases to), or operates a‬
                            ‭place of public accommodation.”‬

‭37.‬‭On or around February 2022, Citizen Advocate, Inc. received a $4,000,000 grant from the‬

   ‭Department of Health and Human Services.‬

‭38.‬‭The Press-Republican reported that “[t]hrough the initiative, Citizen Advocates implemented‬

   ‭a 24/7 Crisis and Recovery Center for the delivery of urgent care to treat mental health and‬

   ‭addiction, and launched a broad range of care coordination programs in conjunction with‬

   ‭other health care organizations, public safety and veterans groups”‬

   ‭https://www.pressrepublican.com/news/local_news/citizen-advocates-awarded-4-million-gra‬

   ‭nt/article_6364aa62-09be-575d-8fca-97ddf7148ad6.html.‬




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‭39.‬‭ADHD and PTSD are disabilities under the ADA.‬

‭40.‬‭The act is designed to prevent practices such as those described here within and performed‬

    ‭by Defendant.‬

‭41.‬‭Citizen Advocates, Inc. leases, owns or operates properties designed to provide healthcare as‬

    ‭a place of public accommodation in Malone, New York.‬

‭42.‬‭Defendant attempted to trick Plaintiff into taking a prescription that did not fit any diagnosis.‬

    ‭The sinister attempts to trick Plaintiff were performed because Plaintiff had a history of‬

    ‭ADHD, PTSD and alcohol abuse.‬

‭43.‬ ‭Defendant believed they could take advantage of Plaintiff.‬

‭44.‬‭Plaintiff’s symptoms of post-traumatic stress disorder intensified. Plaintiffs had the courage‬

    ‭to confront reality and be transparent about what they were dealing with, but were then‬

    ‭prescribed a pill for something they weren’t diagnosed with.‬

‭45.‬‭Plaintiff felt abandoned and not listened to by Citizen Advocates, Inc., exacerbating‬

    ‭symptoms of ADHD and PTSD.‬

‭46.‬‭Plaintiff had legitimate fears for his safety.‬

‭47.‬‭Plaintiff was denied full access to goods and services because of a disability. Instead,‬

    ‭Plaintiff’s disability was used to prescribe medicine which was unnecessary further injuring‬

    ‭Plaintiff.‬

‭48.‬‭Plaintiff was denied full access to goods and services when he was diagnosed by someone‬

    ‭who is not licensed to diagnose mental health conditions on October 25, 2021 by Joanna‬

    ‭Politi. Defendant perceived that Plaintiff could be taken advantage of and that his disability‬

    ‭would prevent the ability in taking any legal recourse.‬

‭49.‬‭Of course this assumption is flatly incorrect as 42 U.S.C § 12101(1) states:‬




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                “‭ [t]he Congress finds that physical or mental disabilities in no way‬
                 ‭diminish a person’s right to fully participate in all aspects of‬
                  ‭society, yet many people with physical or mental disabilities have‬
                   ‭been precluded from doing so because of discrimination; others‬
                    ‭who have a record of a‬‭disability‬‭or are regarded as having a‬
                     ‭disability‬‭also have been subjected to discrimination.”‬

‭50.‬‭By trying to take advantage of Plaintiff’s disability to prescribe pills that are not necessary,‬

    ‭Defendant violated the ADA.‬

‭51.‬‭One reason for violating the ADA would be financial benefits to Defendant, such as‬

    ‭kickbacks, at the expense of Plaintiff’s or other patients overall health and disability.‬

‭52.‬‭Aripiprazole is also known as Abilify.‬

‭53.‬‭Upon information and belief, the drug makers of Abilify or aripiprazole faulted by properly‬

    ‭testing Abilify, aggrandized the benefits of Abilify, and encouraged physicians to use the‬

    ‭medication for purposes not approved by the Food and Drug Administration..‬

‭54.‬‭Plaintiff was injured because of distress over an improper diagnosis and improper‬

    ‭prescription. Again, Plaintiff had symptoms of PTSD which were ignored, while Plaintiff‬

    ‭was instead given a pill for nothing he was diagnosed with. This distress further injured‬

    ‭Plaintiff and was caused by Defendant’s ADA violations.‬

‭55.‬‭As a result of Defendant’s ADA violation, Plaintiff was angry and frustrated and experienced‬

    ‭an increase in PTSD symptoms, including but not limited to paranoia, distrust of others,‬

    ‭irritability, difficulty maintaining relationships, an inability to relax, the inability to care for‬

    ‭oneself, inability to work consistently, inability to focus, and inability to learn.‬

‭56.‬‭Plaintiff suffered emotional distress and worsening symptoms of ADHD and PTSD due to‬

    ‭Defendant’s ADA violations.‬

‭57.‬‭Plaintiff requests all relief and damages he may be entitled.‬




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                  ‭Claim II - Violation of Section 504 of the Rehabilitation Act‬

‭58.‬‭Plaintiff hereby incorporates all preceding paragraphs as if fully stated herein and alleges as‬

   ‭follows.‬

‭59.‬‭Upon information and belief, Citizen Advocates, Inc. received Federal financial assistance in‬

   ‭2022, in the amounts of $4,146,750.‬

‭60.‬‭Under Section 504 of the Rehabilitation Act, individuals with disabilities are defined as‬

   ‭persons with a physical or mental impairment which substantially limits one or more major‬

   ‭life activities. A recipient of Federal financial assistance may not, on the basis of disability,‬

   ‭deny qualified individuals the opportunity to participate in or benefit from federally funded‬

   ‭programs, services, or other benefits or deny access to programs, services, benefits or‬

   ‭opportunities to participate as a result of physical barriers‬

   ‭(https://www.hhs.gov/sites/default/files/ocr/civilrights/resources/factsheets/504.pdf).‬

‭61.‬‭ADHD and PTSD are disabilities that create mental impairments that substantially limit one‬

   ‭or more life activities.‬

‭62.‬‭Plaintiff exhibited the inability to care for oneself, work consistently, perform manual tasks,‬

   ‭focus and learn.‬

‭63.‬‭Plaintiff did not receive the benefits of the federally funded programs and services.‬

‭64.‬‭In fact, Plaintiff was diagnosed by someone who is not licensed to make a diagnosis.‬

‭65.‬‭Citizen Advocates, Inc. allowed access to aripiprazole, a prescription that was not necessary‬

   ‭and instead rather dangerous to Plaintiff but denied Plaintiff access to the full array of‬

   ‭benefits that were provided.‬

‭66.‬‭Plaintiff was denied access to programs because of their disability.‬




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‭67.‬‭Defendant believed Plaintiff could be tricked into taking a prescription that was not‬

    ‭necessary.‬

‭68.‬‭Plaintiff was denied access to programs, services, benefits or opportunities as a result of a‬

    ‭discrimination due to disability.‬

‭69.‬‭By denying Plaintiff access to federally funded programs due to Plaintiff’s disability,‬

    ‭Defendant violated Section 504 of the Rehabilitation Act of 1973.‬

‭70.‬‭Defendant used Plaintiff’s disability to make decisions that were financially beneficial to‬

    ‭Defendant while denying the proper care and full benefits of Citizen Advocates, Inc. that‬

    ‭Plaintiff seeked.‬

‭71.‬‭Plaintiff requests all relief and damages he may be entitled.‬

                                            ‭V. DAMAGES‬

    ‭1.‬ ‭Plaintiff suffered and claims the following damages::‬

          ‭I.‬     ‭Actual Damages‬

                      ‭●‬ ‭Past and future mental anguish‬

                      ‭●‬ ‭Past and future impairment‬

                      ‭●‬ ‭Past and future medical expenses‬

                      ‭●‬ ‭Past and future loss of earning capacity‬

                      ‭●‬ ‭Past and future physical suffering‬

                                          ‭VI. JURY DEMAND‬

‭72. Plaintiff respectfully requests jury trial pursuant to FED. R. CIV. P. 48.‬

                                      ‭VII. PRAYER FOR RELIEF‬

‭73. Accordingly, Plaintiff requests that judgment be awarded against Citizen Advocates, Inc. for:‬

‭(1)‬‭Compensatory damages;‬
‭(2)‬‭Punitive or exemplary damages;‬



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‭(3)‬‭Costs of Court;‬
‭(4)‬‭Prejudgment and postjudgment interest at the highest rate allowable under law;‬
‭(5)‬‭Unliquidated damages at the highest amount that is within the jurisdictional limits of the‬
    ‭court;‬
‭(6)‬‭And all over relief to which Plaintiff is justly entitled.‬



                                                                               ‭Respectfully submitted,‬
                                                                                  ‭/s/Scott Phillip Lewis‬
                                                                                      ‭Scott Phillip Lewis‬
                                                                    ‭1936 Saranac Ave. #3, PMB 411‬
                                                                                ‭Lake Placid, NY 12946‬
                                                                                            ‭518-551-3061‬
                                                                        ‭scottphilliplewis@gmail.com‬




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